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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION
                                CIVIL NO: 6:11-cv-00158

HELEN BAKER,                                                                               Plaintiff


vs.

                               SATISFACTION OF JUDGMENT


AEGIS RECEIVABLES MANAGEMENT, INC.,                                                    Defendant


       On December 2, 2011, Plaintiff accepted Defendant’s Rule 68 Offer of Judgment.

Defendant has fully satisfied the provisions of the Rule 68 Offer of Judgment. Accordingly, the

parties request all future dates to be stricken as moot.

DATED: February 13, 2012                               Respectfully Submitted,


                                                       By: /s/Lee Cassie Yates
                                                       Lee Cassie Yates – Atty No. 91821
                                                       Attorney for Plaintiff
                                                       KROHN & MOSS, LTD.
                                                       10 N. Dearborn Street, 3rd Floor
                                                       Chicago, IL 60602
                                                       (312) 578-9428

                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2012, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel of record via transmission of Notices of Electronic Filing
generated by CM/ECF.

                                                       By: /s/Lee Cassie Yates
                                                           Lee Cassie Yates
